

People v Wilson (2023 NY Slip Op 05008)





People v Wilson


2023 NY Slip Op 05008


Decided on October 4, 2023


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on October 4, 2023
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

VALERIE BRATHWAITE NELSON, J.P.
ROBERT J. MILLER
LARA J. GENOVESI
JANICE A. TAYLOR
LAURENCE L. LOVE, JJ.


2022-06209
 (Ind. No. 682/20)

[*1]The People of the State of New York, respondent,
vRaquan Wilson, appellant.


Patricia Pazner, New York, NY (Russ Altman-Merino of counsel), for appellant.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill and Ellen C. Abbot of counsel; Hunter Gajewski on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Queens County (Michael Yavinsky, J.), imposed May 3, 2022, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
Contrary to the defendant's contention, the record demonstrates that he knowingly, voluntarily, and intelligently waived his right to appeal (see People v Thomas, 34 NY3d 545; People v Lopez, 6 NY3d 248). The defendant's valid waiver of his right to appeal precludes appellate review of his contention that the sentence imposed was excessive (see People v Lopez, 6 NY3d at 255-256).
BRATHWAITE NELSON, J.P., MILLER, GENOVESI, TAYLOR and LOVE, JJ., concur.
ENTER:
Darrell M. Joseph
Acting Clerk of the Court








